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S-1/A 1 kenvues-1a3.htm S-1/A


                                                As filed with the Securities and Exchange Commission on March 30, 2023.
                                                                                                                                                   Registration No. 333-269115


                                                                     UNITED STATES
                                                         SECURITIES AND EXCHANGE COMMISSION
                                                                  Washington, D.C. 20549


                                                                            AMENDMENT NO. 3
                                                                                 TO

                                                                                     FORM S-1
                                                              REGISTRATION STATEMENT UNDER
                                                                THE SECURITIES ACT OF 1933



                                                                           Kenvue Inc.
                                                                   (Exact name of registrant as specified in its charter)

                        Delaware                                                      2844                                                      XX-XXXXXXX
              (State or other jurisdiction of                            (Primary Standard Industrial                                        (I.R.S. Employer
             incorporation or organization)                              Classification Code Number)                                      Identification Number)

                                                                          199 Grandview Road
                                                                           Skillman, NJ 08558
                                                                             (908) 874-1200
                            (Address, including zip code, and telephone number, including area code, of registrant’s principal executive offices)

                                                                            Thibaut Mongon
                                                                               Kenvue Inc.
                                                                         199 Grandview Road
                                                                          Skillman, NJ 08558
                                                                             (908) 874-1200
                                   (Name, address, including zip code, and telephone number, including area code, of agent for service)

                                                                                       Copies to:
                               Michael E. Mariani                                                                                 John B. Meade
                          Cravath, Swaine & Moore LLP                                                                         Roshni Banker Cariello
                                Worldwide Plaza                                                                             Davis Polk & Wardwell LLP
                               825 Eighth Avenue                                                                              450 Lexington Avenue
                              New York, NY 10019                                                                               New York, NY 10017
                                 (212) 474-1000                                                                                    (212) 450-4000

Approximate date of commencement of proposed sale to the public: As soon as practicable after this registration statement becomes effective.
If any of the securities being registered on this Form are to be offered on a delayed or continuous basis pursuant to Rule 415 under the Securities Act of 1933 check the
following box: ☐
If this Form is filed to register additional securities for an offering pursuant to Rule 462(b) under the Securities Act, please check the following box and list the
Securities Act registration statement number of the earlier effective registration statement for the same offering. ☐
If this Form is a post-effective amendment filed pursuant to Rule 462(c) under the Securities Act, check the following box and list the Securities Act registration
statement number of the earlier effective registration statement for the same offering. ☐
If this Form is a post-effective amendment filed pursuant to Rule 462(d) under the Securities Act, check the following box and list the Securities Act registration
statement number of the earlier effective registration statement for the same offering. ☐
Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, smaller reporting company, or an emerging growth
company. See the definitions of “large accelerated filer,” “accelerated filer,” “smaller reporting company,” and “emerging growth company” in Rule 12b-2 of the
Exchange Act.
Large accelerated filer ☐                   Accelerated filer ☐                               Non-accelerated filer ☒                   Smaller reporting company ☐
                                                                                                                                        Emerging growth company ☐
If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised
financial accounting standards provided pursuant to Section 7(a)(2)(B) of the Securities Act. ☐
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The registrant hereby amends this registration statement on such date or dates as may be necessary to delay its effective date until the registrant shall file a
further amendment which specifically states that this registration statement shall thereafter become effective in accordance with Section 8(a) of the Securities
Act of 1933 or until this registration statement shall become effective on such date as the Securities and Exchange Commission, acting pursuant to said
Section 8(a), may determine.
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The information in this preliminary prospectus is not complete and may be changed. We may not sell these securities until the registration
statement filed with the Securities and Exchange Commission is effective. This preliminary prospectus is not an offer to sell these securities and is
not soliciting an offer to buy these securities in any jurisdiction where the offer or sale is not permitted.
                                                            Subject to Completion, Dated March 30, 2023
Preliminary Prospectus

                                                                                           Shares




                                                                             Kenvue Inc.
                                                                             Common Stock

     This is an initial public offering of shares of the common stock of Kenvue Inc. We are offering                  shares of our common stock to be sold in this
offering.
     Prior to this offering, there has been no public market for shares of our common stock. We estimate that the initial public offering price per share of
our common stock will be between $            and $      . We have applied to list our shares of common stock on the New York Stock Exchange (the
“NYSE”) under the symbol “KVUE”.
     Upon completion of this offering, Johnson & Johnson will continue to own            % of the voting power of our shares of common stock eligible to
vote in the election of our directors (or     % if the underwriters exercise in full their option to purchase additional shares of our common stock from us
to cover over-allotments). As a result, we will be a “controlled company” as defined under the corporate governance rules of the NYSE. See “Management
—Controlled Company Exemption.”
    Investing in shares of our common stock involves risks. See “Risk Factors” beginning on page 22 to read about factors you should consider
before purchasing shares of our common stock.
     Neither the Securities and Exchange Commission nor any state securities commission or other regulatory body has approved or disapproved
of these securities or passed upon the accuracy or adequacy of this prospectus. Any representation to the contrary is a criminal offense.
                                                                                                                                       Per Share             Total
Initial public offering price                                                                                                   $                     $
Underwriting discounts and commissions(1)                                                                                       $                     $
Proceeds to us, before expenses                                                                                                 $                     $
________________
(1) See “Underwriting” for a description of compensation to be paid to the underwriters.

   We have granted the underwriters an option for a period of 30 days from the date of this prospectus to purchase up to an additional                     shares of our
common stock from us at the initial public offering price less the underwriting discounts and commissions to cover over-allotments.
     The underwriters expect to deliver the shares of common stock against payment in New York, New York on or about                         .


Goldman Sachs & Co. LLC                                                       J.P. Morgan                                                        BofA Securities
Citigroup                                                                                                                      Deutsche Bank Securities
BNP PARIBAS                                     HSBC                               RBC Capital Markets                                     UBS Investment Bank
BBVA                          ING                        IMI – Intesa Sanpaolo                            Santander                        UniCredit Capital Markets
Academy Securities                 Independence Point Securities                Ramirez & Co., Inc.            R. Seelaus & Co., LLC               Siebert Williams Shank



                                                                          Prospectus dated            .
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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Case 23-01092-MBK   Doc 80-3 Filed 04/20/23 Entered 04/20/23 14:49:05   Desc
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